                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:16-CR-221-MOC-DCK

 UNITED STATES OF AMERICA,                         )
                                                   )
                   Plaintiff,                      )
                                                   )
    v.                                             )      ORDER
                                                   )
 MICHAEL ALLEN DUKE,                               )
                                                   )
                   Defendant.                      )
                                                   )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice And Affidavit” (Document No. 104) filed by A. Taylor Goodnight, concerning F. Clinton

Broden, on May 12, 2017. Mr. F. Clinton Broden seeks to appear as counsel pro hac vice for

Defendant Michael Allen Duke. Upon review and consideration of the motion, which was

accompanied by submission of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice And Affidavit” (Document No. 104) is GRANTED. Mr. F. Clinton

Broden is hereby admitted pro hac vice to represent Defendant Michael Allen Duke.

         SO ORDERED.


                                           Signed: May 15, 2017




   Case 3:16-cr-00221-MOC-DCK            Document 106         Filed 05/15/17   Page 1 of 1
